                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                  )
                                          )
v.                                        )       NO. 3:11-00194
                                          )       JUDGE CAMPBELL
MAURICE THOMPSON                          )


                                          ORDER

       Pending before the Court is the Defendant’s Motion to Expedite Sentencing Hearing

(Docket No. 1318). The Motion is DENIED due to an ongoing trial.

       IT IS SO ORDERED.



                                                  __________________________________
                                                  TODD J. CAMPBELL
                                                  UNITED STATES DISTRICT JUDGE




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